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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       CRIMINAL NO.: 15-CR-095 (KBJ)
                                             :
               v.                            :
                                             :
DANIEL SAVAGE                                :       SENTENCING: November 16, 2015
     Defendant.                              :


             GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby submits the following memorandum to assist the Court in determining an

appropriate sentence in this case. For the reasons set forth herein, the government recommends

that the Court sentence the defendant to a term of incarceration at the bottom third of the

guidelines (49 months), to be followed by 120 months of supervised release, with the conditions

recommended by the United States Office of Probation, including sex offender assessment and

treatment, a no unsupervised contact with minors provision, and a computer monitoring/search

requirement. Additionally, the defendant is required by statute to register as a sex offender for a

minimum period of 15 years. In support this memorandum and recommendation, the government

relies on the following points and authorities, and such other points and authorities that may be

cited at the sentencing hearing.

I.     BACKGROUND

       A.      Procedural Posture

       The defendant was arrested on April 18, 2015 in the District of Columbia, and made his

initial appearance before United States Magistrate Judge Robinson two days later. The defendant

was ordered held without bond, which his status remains. On July 30, 2015, the United States

Attorney for the District of Columbia filed a one-count Information charging the defendant with

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Travel with Intent to Engage in Illicit Sexual Conduct. On September 3, 2015, the defendant

entered a guilty plea to one count of Travel with Intent to Engage in Illicit Sexual Conduct in

violation of 18 U.S.C. § 2423(b), pursuant to a written plea agreement before this Court. The

court set a sentencing date of November 16, 2015.

       B.      Statement of Offense

       Between on or about April 14, 2015, and April 18, 2015, Metropolitan Police Detective

Timothy Palchak had been acting in an undercover capacity (“UC”) as part of an FBI/MPD

multi-jurisdictional Child Exploitation Task Force, operating out of a satellite office in

Washington, D.C. In this capacity, Detective Palchak posted an online advertisement on a

website with classified advertisements which is known for meeting individuals who have a

sexual interest in children and incest. The advertisement used key words including “taboo” and

“perv” to attract persons with a sexual interest in children.

       On or about April 14, 2015, the UC began communicating with an individual later

identified as Daniel Savage (“defendant”). The defendant contacted the UC via email in response

to an online advertisement the UC had posted. The defendant asked the UC what he was into at

which point the UC replied “taboo, incest, etc.” The defendant responded “Same! We should

talk” then asked the UC if he was a dad with access to a child. The defendant told the UC that he

was not into “G” but into “B.” The UC understood this to mean that the defendant was not

interested in girls but boys instead. The defendant then asked the UC if he knew any available

boys. The UC replied that he had access to a 12-year-old boy who was a son of a friend. The UC

specifically stated that his friend allowed his 12-year-old son to visit with the UC at the UC’s

apartment for the purpose of engaging in sexual acts.




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       The UC continued conversing with the defendant through email and text messages from

April 14, 2015 to April 18, 2015. During their ongoing conversations, the defendant expressed

interest in engaging in oral and anal sex with the purported 12 year-old boy. The defendant

pressed the UC about “set[ting] this up for some time soon” so that he can “meet the boy.” He

peppered the UC with questions about the purported 12 year-old boy including “does he fuck,”

“how deep he can suck,” “does he have pubes” “[h]ow big is his cock,” “does he like to bottom,”

and “is he open to playing or forced?” The UC then asked the defendant what he wanted to do

with the purported 12 year-old-boy, at which time the defendant replied that he wanted to do

“oral,” “rimming,” and “fucking.” The UC understood this to mean that the defendant wanted to

engage in both oral and anal sex with the child. The defendant also stated that he likes “8 to 13”

which the UC interpreted as meaning that the defendant was interested in children between the

ages of 8 and 13 years old. The defendant then requested a photograph of the purported 12-year-

old boy so that he could see what the child looked like.

       The defendant made arrangements to travel from his home in Pennsylvania to the District

of Columbia for purposes of engaging in anal and oral sex with the purported 12-year-old boy.

The defendant and the UC created a plan where they agreed to meet at a pre-arranged location,

specifically a bar in the District of Columbia. Thereafter, they planned to leave the bar together

and meet the purported 12-year-old boy in front of the UC’s apartment complex before

proceeding inside to engage in sexual activities. The defendant further explained to the UC that

he planned to watch child pornography with the purported 12 year-old boy. The defendant told

the UC that he would obtain child pornography videos from a friend on thumb drives and bring

them to the pre-arranged location.




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       On April 18, 2015, the defendant contacted the UC again in an attempt to confirm their

plans and that the “kid was into it.” The defendant also wanted to confirm that the UC was not

law enforcement. The UC reassured the defendant that nobody was getting cold feet and that the

12-year-old boy was “into” the encounter. The defendant asked the UC about the plan for the day

and asked the UC about the size of the 12 year-old boy’s penis and “balls.” The defendant

continued to express his excitement about the meeting.

       On April 18, 2015, the defendant arrived at the prearranged location at 9:45 a.m. in the

District of Columbia. The UC identified the defendant from a photograph he had sent to the UC

during their email and text exchange. The UC also recognized the defendant’s voice from a

phone call they had earlier that morning. The defendant told the UC that he had parked at a meter

and only had 37 minutes left on the meter so he would need to find another place to park. The

UC told the defendant that the defendant could use his parking pass to park in his spot for the

remainder of the day. The defendant was subsequently arrested by Members of the Child

Exploitation Task Force.

       After his arrest, the defendant waived his Miranda rights and was interviewed by agents

of the FBI. The defendant admitted to traveling from Pennsylvania to the District of Columbia

for the purpose of engaging in sexual activity with a 12-year-old boy. The defendant further

admitted to transporting and possessing child pornography.

       On April 18, 2015, law enforcement seized a number of the defendant’s belongings. The

items included: (1) the vehicle he used to drive from Pennsylvania to the District of Columbia;

(2) six USB devices within the vehicle: (a) Exar 64GB thumb drive, (b) HP 4GB thumb drive,

(c) Cruzer 8GB thumb drive, (d) (2) Swagelok eDTR drives, (e) Dane-Elec 4GB drive with a

serial number 498326; and (3) an Apple iPhone Model #A1533 from the defendant’s person that



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he used to communicate with the UC. Each of the listed items belonged to and was used by the

defendant. Law enforcement conducted a preliminary forensic review of the seized items. The

computer forensic examiner identified each of the listed items as containing child pornography

or being used in the commission of the described offenses. Several of the images and videos

found on the six thumb-drives depicted child pornography and included multiple videos and

images of children under the age of 12 years old engaging in sexual acts.

II.    SENTENCING CALCULATION

       A.      Statutory Penalties

       The offense of Travel with Intent to Engage in Illicit Sexual Conduct in violation of 18

U.S.C. § 2423(b) carries a maximum sentence of 30 years imprisonment, a maximum fine of

$250,000, and a term of supervised release not less than five years and up until life pursuant to

18 U.S.C. § 3583(k). Pursuant to 18 U.S.C. § 3013(a)(2)(A), the defendant must pay a

mandatory special assessment of $100 for each felony conviction payable to the Clerk of the

United States District Court for the District of Columbia. The defendant must also register as a

sex offender for a minimum period of 15 years pursuant to 18 U.S.C. § 2250 and 42 U.S.C. §§

16911(3)(B)(iii) and 16915(a)(2).

       B.      Guidelines Range

       The government agrees with the calculation of the defendant’s Guidelines sentencing

range set forth in the Presentence Investigation Report (“PSR”). See PSR ¶ 6. The base offense

level is 24, pursuant to U.S.S.G § 2G1.3. See id. The government agrees with the PSR that the

offense involved the use of a computer to persuade, induce, entice, coerce, or facilitate the travel

of a minor to engage in prohibited sexual conduct and two (+2) additional points should be

applied. See id. There are no additional adjustments that apply and the defendant’s adjusted

offense level is 26. See id.

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        The government agrees that the defendant is entitled to a two-point reduction for

acceptance of responsibility pursuant to USSG § 3E1.1(a). See PSR ¶ 6. The government also

moves to decrease the defendant’s offense level by an additional point pursuant to U.S.S.G.

3E1.1.(b). The defendant timely notified authorities of his intention to enter a guilty plea and

thus permitted the government and the Court to preserve resources. The defendant has a total

criminal history score of zero and is in the criminal history category of I. See PSR ¶ 7. Thus, the

defendant’s total offense level if 23. See id. at 6.

        With an offense level of 23 and a Criminal History Category of I, the defendant’s

Guidelines sentencing range is 46 to 57 months imprisonment with a fine range of $10,000 to

$100,000. See PSR ¶ 8.

III.    GOVERNMENT’S RECOMMENDATION

        A.      Application of the Federal Sentencing Guidelines

        In United States v. Booker, 125 S. Ct. 738 (2005), the Supreme Court held that the

mandatory application of the United States Sentencing Guidelines violates the Sixth Amendment

principles articulated in Blakely v. Washington, 124 S. Ct. 2531 (2004). As a consequence, the

Court invalidated the statutory provision that made the Guidelines mandatory, 18 U.S.C.

§ 3553(b)(1). Booker, 125 S. Ct. at 756.

        In post-Booker cases, the Supreme Court has stated that a district court should begin all

sentencing proceedings by correctly calculating the applicable Guidelines range. See United

States v. Gall, 552 U.S. 38, 49 (2007) (“As a matter of administration and to secure nationwide

consistency, the Guidelines should be the starting point and the initial benchmark.”). After giving

both parties an opportunity to argue for an appropriate sentence, the district court should then

consider all of the applicable factors set forth in 18 U.S.C. § 3553(a). Id. These factors include

“the nature and circumstances of the offense and the history and characteristics of the defendant”

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(18 U.S.C. § 3553(a)(1)); the need for the sentence imposed to reflect the seriousness of the

offense, to provide just punishment for the offense, to afford adequate deterrence to criminal

conduct, to protect the public from further crimes of the defendant, and to provide the defendant

with needed correctional treatment (18 U.S.C. § 3553(a)(2)); the kinds of sentences available (18

U.S.C. § 3553(a)(3)); the Sentencing Guidelines and related Sentencing Commission policy

statements (18 U.S.C. § 3553(a)(4) and (a)(5)); the need to avoid unwarranted sentencing

disparities (18 U.S.C. § 3553(a)(6)); and the need to provide restitution to any victims of the

offense (18 U.S.C. § 3553(a)(7)).

       B.      Basis for the Government’s Recommendation

       Given the particular circumstances of this case and the defendant’s significant

cooperation, the government submits that a sentence of 49 months, with 120 months (10 years)

of supervised release, and the specific conditions of supervision recommended by the United

States Office of Probation, is appropriate and warranted in this case based on the factors in 18

U.S.C. § 3553(a). The recommended sentence is sufficient, but not greater than necessary, to

accomplish the purpose of sentencing.

               1.      The Nature and Circumstances of the Offense

       The defendant’s actions in this case are egregious. The defendant traveled from

Pennsylvania to the District of Columbia for the purpose of engaging in sexual acts with a 12-

year-old boy. After initiating a conversation with an undercover officer, the defendant engaged

in lengthy and graphic conversations relating to his sexual interest in boys, specifically the boy to

whom the UC claimed to have access. The defendant spent four days chatting with the UC,

describing in detail the sex acts he wanted to engage in with the 12-year-old boy. He then

traveled to actually meet the boy with the belief that the purported 12-year-old child was a real

child that he would sexually abuse. The defendant’s knowing and intentional actions – his travel
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from Pennsylvania to Washington, D.C., for the purpose of sexually abusing a young child –

demonstrate the danger he poses to the community

       Additionally, the defendant possessed and transported a significant amount of child

pornography, which itself is inexcusable and wrong. The defendant brought the six thumb drives

filled with child pornography to show the 12-year-old boy during what defendant hoped would

be their sexual encounter. The thumb drives contained several images and videos, many of

which involved children under the age of 12, engaged in sexual acts. In addition to possessing

these images, the defendant brought them with him from Pennsylvania to the District of

Columbia, thereby evidencing his intentional participation in the market of trafficking child

pornography images. The defendant’s conduct in this case is severely harmful to society in

general and to the child victims of the images possessed, and therefore supports the

government’s view that the defendant should serve a significant prison sentence.

               2.      The Defendant’s History, Characteristics, and Cooperation

       To his credit, the defendant has no criminal convictions and his criminal history category

score is zero. His employment record has been inconsistent, but at the time of his arrest he was

employed part-time at a Wegman’s grocery store. Despite the defendant’s arrest and guilty plea,

his family has been supportive. His parents have traveled weekly from Pennsylvania to visit the

defendant at the jail and his mother has indicated a willingness to house the defendant upon his

release from custody. Accordingly, it is clear that despite the alleged conduct, the defendant has

family support.

       Furthermore, the defendant demonstrated early on a willingness to be held accountable

for his actions. From the time of the defendant’s arrest up until he ultimately plead guilty in this

case, the defendant has accepted responsibility for his actions and did not deny accountability for

his crimes. He waived his Miranda rights immediately after being arrested and admitted to law
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enforcement that he travel with the intentions of engaging in sexual activity with a 12-year-old

boy. He also admitted to possessing and transporting thumb drives across state lines that

contained child pornography.

       Not only did the defendant accept responsibility for his actions but he agreed to cooperate

with the government and law enforcement, participating in two debriefs. The defendant was able

to provide some assistance to law enforcement by identifying an individual in the Philadelphia

area who was involved in child exploitation crimes. The government investigated the

information provided by the defendant, obtaining probable cause for an arrest of the targeted

individual, who is now deceased.

       The government took the defendant’s cooperation and information provided by the

defendant as well as his acceptance of responsibility into consideration in extending the

defendant his plea offer. The defendant was facing potential prosecution for additional crimes,

including, among other things, for transporting child pornography in interstate commerce in

violation of 18 U.S.C. 2252, which is a crime carrying a mandatory minimum prison term of 5

years. However, as a result of his cooperation, the defendant was offered a plea offer that

reduced his sentencing exposure because he was extended the offer to plead guilty only to the

instant charge. Because the cooperation is accounted for in the plea terms themselves, the

government believes the recommended sentence is fair and just in light of his cooperation.

              3.      Punishment, Deterrence, Protection, and Correction

       A sentencing court “shall impose a sentence sufficient, but not greater than necessary” to

comply with the need for a sentence: “(A) to reflect the seriousness of the offense, to promote

respect for the law, and to provide just punishment for the offense; (B) to afford adequate

deterrence to criminal conduct; (C) to protect the public from further crimes of the defendant;



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and (D) to provide the defendant with needed educational or vocational training, medical care, or

other correctional treatment in the most effective manner.” 18 U.S.C. § 3553(a)(2).

         The government’s recommended sentence is sufficient, but not greater than necessary in

the context of this particular case, to provide just punishment for the defendant’s offenses. The

defendant’s offense for which he entered the plea, as well as the surrounding relevant conduct –

possession and transportation of child pornography – are harmful to society in general and

warrant a sentence of imprisonment.

         The defendant’s conversations with the UC and the act of traveling to meet with what the

defendant believed to be a 12-year-old boy evidence extremely dangerous conduct. A

preliminary forensic review of the thumb drives the defendant possessed at the time of his arrest

indicated that there were several images and videos of child pornography, including multiple

images and videos of children who appeared to be under the age of 12. The defendant’s actions

in this regard are egregious and justice requires that they be appropriately punished.

         The recommended sentence further accounts for the assistance of the defendant and the

defendant’s acceptance of responsibility. A sentence below the guidelines would fall short of

deterring the defendant from future criminal conduct. Furthermore, a term of 120 months of

supervised release, with specific conditions recommended by the probation office, is crucial to

ensuring that the defendant receives the treatment and support that he needs so that he does not

commit similar offenses in the future.

                4.     Available Sentences

         The defendant should be sentenced to a term of incarceration. The defendant is in Zone

D of the Guidelines, and thus a probationary sentence would be a departure from the Guidelines.

According to the PSR, the defendant does not have the ability to pay a fine in this case. See PSR

¶ 102.
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       The court should impose a term of supervised release. The government recommends a

minimum of 120 months (10 years) of supervised release. A lengthy term of supervised release is

appropriate to ensure the defendant’s participation in sex offender treatment and most critically

to safeguard the community through ongoing monitoring. The government agrees with the PSR

that the defendant’s conditions of release should include sex offender registration and restrictions

on search and internet conditions. The defendant’s crimes stem from his online activities,

specifically, the defendant’s use of known child exploitation websites to maintain contact with

others involved in child exploitation crimes. The defendant’s use of the Internet and a computer

to commit his crimes justifies monitoring his future use of electronic devices.

       In addition, the defendant’s conduct in this case involved him traveling to engage in

sexual conduct with a 12-year-old boy. Accordingly, the Court should preclude the defendant

from having unsupervised contact with minors, including family members. The government also

requests that the defendant be required to undergo sex offender assessment and treatment, as well

as a polygraph examination, to appropriately identify the defendant’s needs and risks of

reoffending. Given the nature of the defendant’s chat communications with the UC and the fact

that he met the UC to engage in sexual conduct with a child, it would be prudent for the

defendant to undergo a sex offender assessment. Furthermore, the thumb drives that the

defendant possessed at the time of his arrest make clear that the defendant has an interest in

children, as many of the videos depicted prepubescent children engaging in sexual acts.

Although the assessment would deprive the defendant of some liberty, that deprivation is no

more than reasonably necessary to achieve the statutory objective of providing treatment.

       Moreover, given the defendant’s history of mental health issues, specifically ongoing

issues with depression, the government requests that the Court order that the defendant undergo



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the recommended mental health assessment and any treatment recommended as a result of the

assessment.

5.     Avoiding Unwarranted Sentencing Disparity

       One of the statutory factors to consider at sentencing is the need to avoid unwarranted

disparity. Indeed, avoiding such uncertainty and disparity was one of the purposes for the

creation of the Sentencing Guidelines.

       Recognizing that the facts and circumstances of each case are unique, it is nevertheless

instructive to consider the sentences imposed in cases involving comparable charges. This

section contains information about recent cases in this District involving the charge of Travel

with Intent to Engage in Illicit Sexual Conduct. The government notes that the sentence imposed

in each of these cases does not necessarily reflect what the government recommended.

       In recent years, there have been two cases in this District involving only the charge of

Travel with Intent to Engage in Illicit Sexual Conduct. In United States v. George Kahl, 13-CR-

99 (RMC), Kahl traveled to D.C. from another state to sexually abuse a purported 12-year-old

girl after communicating online with a UC. Kahl pled guilty to the charge of Travel and was

sentenced to 40 months of imprisonment and 10 years of supervised release. In United States v.

Scott Swirling, 13-CR-98 (JDB), Swirling traveled to D.C. from another state to sexually abuse a

purported 12-year-old year after communicating online with a UC. Swirling pled guilty to the

charge of Travel and was sentenced to 42 months of imprisonment and 10 years of supervised

release.

       Again focusing on recent years, there have been several more cases in this District

involving the charge of Travel with Intent to Engage in Illicit Sexual Conduct and the charge of

Possession of Child Pornography. All of these cases involved travel for a 12-year-old child and

several involved the defendant distributing child pornography to the UC. See United States v.
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Scanlon, 14-CR-7 (RC) (Scanlon pled guilty to the charges of Travel and Possession of Child

Pornography and was sentenced to 51 months of incarceration and 120 months of supervised

release); United States v. Cunningham, 13-CR-288 (Howell) (Cunningham pled guilty to the

charges of Travel and Possession of Child Pornography and was sentenced to 51 months of

incarceration and 120 months of supervised release); United States v. DeGrange, 13-CR-297

(BAH) (DeGrange pled guilty to the charges of Travel and Possession of Child Pornography and

was sentenced to 57 months of incarceration and 120 months of supervised release); United

States v. Rajashekar, 13-CR-172 (TFH) (Rajashekar was an 18 year old student who, while

under state court indictment for possession of child pornography, distributed child pornography

to a UC and traveled from Maryland to D.C. to have sex with a 12-year-old child; Rajashekar

pled guilty to Travel and Possession of Child Pornography, resolving both the state and federal

cases, and was sentenced to 60 months of incarceration and 120 months of supervised release);

United States v. VanSant, 13-CR-233 (RJW) (VanSant pled guilty to the charges of Travel and

Possession of Child Pornography and was sentenced to 70 months of incarceration and 120

months of supervised release); United States v. George Marion, 13-CR-2 (ESH) (Marion pled

guilty the charges of Travel and Possession of Child Pornography and was sentenced to 50

months of incarceration and 120 months of supervised release); United States v. Kaylan Cureton,

12-CR-147 (RJW) (Cureton pled guilty to the charges of Travel and Possession of Child

Pornography and was sentenced to 48 months of incarceration and 120 months of supervised

release).

        In United States v. Rivera, 09-CR-82 (JR), Rivera responded to an online ad posted by a

UC. The UC said that he had sexual access to a 7-year-old girl and an 11-year-old girl. Rivera

expressed interest only in the 11-year-old girl and then traveled to D.C. to sexually abuse her.



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Rivera pled guilty to the charge of Travel and was sentenced to 36 months of incarceration and

120 months of supervised release.

       In United States v. Sandoval, 09-CR-83 (RJL), Sandoval responded to an online ad

posted by a UC. The UC said that he had sexual access to a 7-year-old girl and an 11-year-old

girl. Sandoval expressed interest only in the 11-year-old and then traveled to D.C. to sexually

abuse her. Sandoval pled guilty to the charge of Travel and was sentenced to 72 months of

incarceration and 120 months of supervised release.

       In United States v. Raymond, 09-CR-183, Raymond communicated online with a UC and

traveled from Virginia to D.C. to sexually abuse a 4-year-old boy.          Raymond specifically

expressed an interested in prepubescent boys. After Raymond’s arrest, a search was conducted

of his residence and child pornography was located on his computer. Raymond pled guilty to

Travel and Possession of Child Pornography and was sentenced to 60 months of incarceration

and 120 months of supervised release on each count to run concurrent to each other. The

sentencing memoranda in the Raymond case are not on the public docket.

        In United States v. Laslie, 10-CR-57 (EGS), Laslie communicated online with a UC and

traveled from Virginia to D.C. to sexually abuse a purported 11-year-old girl. Laslie specifically

expressed sexual interest in children ages 7 to 14 years old. Laslie said that, about ten years

before, he had sexually abused a 7-year-old girl. After his arrest, law enforcement investigated

Laslie’s statements and child sexual abuse charges were filed against Laslie in state court. Laslie

pled guilty to Travel and was sentenced to 135 months of incarceration and 120 months of

supervised release.

       In United States v. Stickney, 09-CR-152 (HHK), Stickney traveled from D.C. to Florida

to sexually abuse a 6-year-old child, whom Stickney had previously abused. A search of



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Stickney’s residence led to the recovery of child pornography depicting Stickney abusing the

child. Stickney pled guilty to Travel and Production of Child Pornography and was sentenced to

the mandatory minimum sentence of 180 months of incarceration and 600 months of supervised

release on each count to run concurrent to each other. The sentencing memoranda in the

Stickney case are not on the public docket.

       In United States v. Laureys, 09-CR-106 (RCL), Laureys traveled from Maryland to D.C.

to sexually abuse a purported 9-year-old child.      Laureys specifically expressed interest in

children ages 8 to 13. In addition, Laureys had a prior conviction for enticing a minor in

violation of the D.C. Code for previously traveling to meet a UC whom Laureys believed was a

12-year-old girl. Laureys was convicted after trial of Attempted Enticement of a Minor, Travel,

and Penalties for Registered Sex Offenders, and was sentenced to twenty years of incarceration

(two mandatory minimum ten-year terms consecutive to each other) and ten years of supervised

release.

       In United States v. Lewis, 07-CR-119 (GK), Lewis, a medical doctor, communicated

online with a UC and traveled to D.C. to sexually abuse a purported 10-year-old girl. A search

of Lewis’ residence led to the recovery of child pornography. Lewis was convicted after trial of

Attempted Enticement of a Minor and Travel and was sentenced to 151 months of incarceration

and 15 years of supervised release.

       The instant case involves the charge of Travel for a child aged 12. And while the

defendant did not have to plead guilty to either Possession of Child Pornography or

Transportation of Child Pornography, he did commit such conduct. Considering all of these

facts and circumstances, including the cooperation of the defendant that was accounted for in the

defendant’s pela offer, the government believes that the sentence of 49 months is appropriate.



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IV.      CONCLUSION

         WHEREFORE, for all of the reasons set forth herein, the government recommends that

the Court sentence the defendant to a term of imprisonment of 49 months, to be followed by 120

months (10 years) of supervised release, with the recommended conditions of supervision. The

defendant is further required by statute to register as a sex offender for a minimum period of 15

years.


                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              UNITED STATES ATTORNEY


                                              ___/s/____________________________
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                                      Certificate of Service

        I hereby certify that I have caused a copy of the foregoing to be sent by email to counsel
for the defendant, Dani Jahn, this 5th day of November, 2015.


                                              ___/s/_____________________________
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